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                     EXHIBIT 1
DocuSign Envelope ID: 6EDEEB7F-FCE5-481D-9033-44C63BDD79C6
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                                   AIRCRAFT BILL OF SALE


                        FOR AND IN CONSIDERATION OF $ 1 and OVC THE
                        UNDERSIGNED OWNER(S) OF THE FULL       LEGAL
                        AND BENEFICIAL TITLE OF THE AIRCRAFT
                        DESCRIBED AS FOLLOWS:
                REGISTRATION
                   NUMBER                                    T7-LAM
         AIRCRAFT MANUFACTURER & MODEL
         Bombardier DB-700-1A10
         AIRCRAFT SERIAL No.
         9295
                DOES THIS 9th             DAY OF March                                  , 2022
                HEREBY SELL, GRANT, TRANSFER AND
                DELIVER ALL RIGHTS, TITLE, AND INTERESTS
                IN AND TO SUCH AIRCRAFT UNTO:                                                             Do Not Write In This Block

                      NAME AND ADDRESS
                      (IF INDIVIDUAL(S), GIVE LAST NAME, FIRST NAME, AND MIDDLE INITIAL.)

                       Island Air Capital
                       P.O. BOX SP-64181
                       Island House, East Atlantic Drive, Freeport, Grand Bahama
                       The Commonwealth of the Bahamas



                      DEALER CERTIFICATE NUMBER
         AND TO                                               EXECUTORS, ADMINISTRATORS, AND ASSIGNS TO HAVE AND TO HOLD
         SINGULARLY THE SAID AIRCRAFT FOREVER, AND WARRANTS THE TITLE THEREOF:


         IN TESTIMONY WHEREOF                        HAVE SET                  HAND AND SEAL THIS
                                                                                                    9th       DAY OFMarch 2022
                         NAME(S) OF SELLER                         SIGNATURE(S)                                 TITLE
                             (TYPED OR PRINTED)                (IN INK) (IF EXECUTED FOR         (TYPED OR PRINTED)
                                                            CO-OWNERSHIP, ALL MUSTSIGN.


                                                                                                 Tony Ryan - President
             SELLER




                      Carolina Corporate Jets, Inc




         ACKNOWLEDGMENT (NOT REQUIRED FOR PURPOSES OF RECORDING: HOWEVER, MAY BE REQUIRED BY LOCAL LAW FOR
         VALIDITY OF THE INSTRUMENT.)


         ORIGINAL:
